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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

Assia Boundaoui
                                           Plaintiff,
v.                                                        Case No.: 1:17−cv−04782
                                                          Honorable Thomas M. Durkin
Federal Bureau of Investigation, et al.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 6, 2020:


        MINUTE entry before the Honorable Thomas M. Durkin: Show Cause Hearing set
for 1/22/2020 at 09:30 AM.Mailed notice(srn, )




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